
Gieeen, J.
I concur in the judgment of reversal, but prefer to base it on error in the court charging the jury as follows:
“There is another rule of law which applies even in cases where both parties are to blame, when the conduct of both has contributed to the accident, and that is this: If the circumstances are such,that, notwithstanding the negligence of the plaintiff, the defendant could, by the exercise of ordinary care,have avoided the accident then notwithstanding the negligence of the plaintiff, the plaintiff can recover.”
The plaintiff alleges in bis petition that the defendant was negligent in running its car at an unlawful and dangerous rate of speed and failed to sound the gong, either of which may have been a proximate cause of the accident.
There was testimony tending to prove that the plaintiff, without looking or listening for an approaching car, suddenly turned his horses onto the track for the purpose of crossing it and thereby contributed directly to his injury.
The jury may well have found, under this charge, that the defendant was liable by reason of a failure to exercise ordinary care in avoiding the accident by running the car at a lawful rate of speed, or by sounding the gong, although the plaintiff by his concurring negligence contributed to bis injury.
There is no averment in the petition that after the plaintiff placed himself in a position of peril, the defendant knew or ought to have known of it, and perhaps it is not necessary; but if the testimony tended to prove such fact,the jury should have been instruct d that such circumstance required the defendant to use ordinary care to avoid the accident, and that a failure to do so would make it liable, notwithstanding the negligence of plaintiff.
In Railroad Co. v. Kassen. 49 Ohio St., 230, the third proposition of the syllabus is as follows:
“The rule, that the negligence of the injured party, which proximately contributes to the injury, precludes him from *262recovering, has no application where the more proximate cause of the injury is the omission of the other party, after becoming aware of the clanger to which the former party is exposed, to use a proper degree of care to avoid injuring him ”
The charge makes no distinction as to whether the negligence of the plaintiff contributed directly or remotely to the accident, nor does it specify any circumstances, or whether it arose before or after the plaintiff was placed in a position of danger,that would require the defendant to exeron-e c«re to avoid the accident; hence the instruction was misleading.
Swing, J.
This case is in this court on eror to the judgment of the court of common pleas. In that court Jenkins recovered a judgment against the street railroad company for $8,500, on •account of injuries received in a collision between a vehicle which Jenkins was driving and one of the cars of said company at Ridgeway and Main avenues, in Avondale.
While there is a conflict of evidence, we think the manifest weight of the evidence clearly shows that Jenkins was driving his vehicle on the east side of Main avenue, going north between the railroad tracks and the curb until he got opposite Ridgeway avenue, when he suddenly turned to the left, crossing the street car tracks right in front of the car which was approaching. The evidence of Jenkins and Miss Harmon and William Carter is to the effect that Jenkins was driving with the left wheel between the tracks, but the evidence of Dr. Adams, Miss Rau. Albert Frazier, the motorman and the conductor, and Mrs. Harmon is to the effect that Jenkins was driving east of the east rail. The evidence of Dr. Adams and Miss Rau is very clear and convincing on this point. We can not understand how these witnesses could have been mistaken; they were in a position to observe accurately the position of Jenkins. They testify as to facts that must have happened as they relate them, or else they are telling willful falsehoods; and we see absolutely no reason to think that the witnesses are not truthful. The motorman and the conductor may be said to be interested, but their statements seem to be reasonable and straightforward and are borne out in every important particular by Dr. Adams, Miss Rau Mrs. Harmon and Frazier.
*263While Jenkins undoubtedly had a perfect right to drive between the tracks, still if he was a careful and prudent driver, he would not, under the circumstances, be expected to drive this distance between the tracks. The curtains of his carriage were down, and hu could not observe an approaching car without some exertion, and he was at a point on the tracks when he had every reason to think a car might come up. to him. When be came to Main avenue he did not immediately go on the track, but drove on the east side of the track until he came to a point where the street was obstructed in such a way that he was compelled to go on the track to get around the obstruction, and it is reasonable to think that being a prudent driver, that having 800 ,or 900 feet to go before leaving the street, that.he would, after passing the obstruction, resume his position outside of the tracks. There was nothing in the way to prevent him doing this,and it was the safest place for him to be in; and whatever presumption would arise from this goes to confirm the direct evidence of the witnesses referred to.
We think there can be no question but wbat the evidence shows that the car . and the vehicle were traveling north for quite a distance just previous to the collision, close together, and that the collision was caused by Jenkins turning his horses from their course north to a westerly course to go out on Ridgeway avenue. We see nothing in the evidence that tends to show that the motorman bad any willful intention to run Jenkins down. What we think the evidence clearly shows is that Jenkins was driving north on the east side of the track,and that when opposite Ridge-way avenue be suddenly turned his vehicle across the track of the street railroad; that at the time he turned to cross the track the street car was but fifteen feet away, and that the motorman was not able to stop his car before the collision occurred. We are unable to see wherein the motorman was negligent, and this the burden was on the plaintiff to prove. There was no negligence in the speed of the car. There was nothing to indicate that Jenkins was going to turn upon the track at the point where he did turn .until just at the time.be commenced to go on the track, and the car was so near him that it could not be stopped in time to prevent the collision, and there was nothing to show,that the motorman *264wa’s not justified in running his car so close up to Jenkins’ vehicle.
James B. Foraker, for the Street Railway Co.
D. W. Oordell and Frank H. Kemper, contra.
The accident, it seems clear to us, was caused by the negligence of Jenkins in attempting to cross the street car track in front of a car that was so close and going at such a rate' of speed that it was impossible to stop the car before a collision took place. 1 The street was clear.and there was nothing to prevent Jenkins from driving along said street in a proper and safe place, and there was nothing to prevent Jenkins from ascertaining at the time he crossed the track whether there was any danger of a collision with an approaching car; but he did hot seem to have taken any such precaution, and there being nothing in the evidence to warn the motorman that Jenkins would, when he got to Ridge-way. avenue, turn his vehicle across the track, and it being clear that there is nothing to show that the motorman intended to willfully run him down, we can see no negligence in the case except that of Jenkins, which to us is clear and manifest; and said judgment should be reversed, because it is not sustained hy the evidence.
